        CASE 0:20-cv-01497-DSD-DTS Doc. 21 Filed 09/17/20 Page 1 of 2




                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MINNESOTA

Pharmaceutical Research and                     Case No.    ‐cv‐      ‐DSD‐DTS
Manufacturers of America,

                                 Plaintiff,

v.                                              STIPULATION OF DISMISSAL
                                              WITHOUT PREJUDICE OF CLAIMS
Stuart Williams, Stacey Jassey, Mary            AGAINST DEFENDANTS NATE
Phipps, Andrew Behm, James Bialke,            CLARK, PETER BENNER, SUYAPA
Amy Paradis, Rabih Nahas, Samantha             MIRANDA, DAVID FISHER, JODI
Schirmer, and Kendra Metz, in their            HARPSTEAD, PHIL NORRGARD,
oﬃcial capacities as members of the              STEPHANIE STOFFEL, AND
Minnesota Board of Pharmacy; and                    ANDREW WHITMAN

Nate Clark, Peter Benner, Suyapa
Miranda, David Fisher, Jodi Harpstead,
Phil Norrgard, Stephanie Stoﬀel, and
Andrew Whitman, in their oﬃcial
capacities as members of the Board of
MNsure,

                             Defendants.


       Defendants’ Memorandum Supporting Motion to Dismiss represents, on

page   , that ( ) “the MNsure board members … have no connection with the

enforcement of the [Alec Smith Insulin Aﬀordability] Act”; that ( ) the “law gives only

the Board of Pharmacy authority to assess penalties for noncompliance with the Act,

Minn. Stat. §   . , subd.    ”; and ( ) that “Defendant Nate Clark” is “a MNsure staﬀ

member” with “no conceivable enforcement connection to the Act.” Based on those

representations, Plaintiﬀ agrees to dismiss without prejudice its claims against
        CASE 0:20-cv-01497-DSD-DTS Doc. 21 Filed 09/17/20 Page 2 of 2




Defendants Nate Clark, Peter Benner, Suyapa Miranda, David Fisher, Jodi Harpstead,

Phil Norrgard, Stephanie Stoﬀel, and Andrew Whitman, in their oﬃcial capacities as

members of the board or staﬀ of MNsure. Pursuant to Fed. R. Civ. P.      (a)( )(A)(ii),

the parties hereby stipulate to the dismissal of the claims against these defendants.

Dated: September      ,

GREENE ESPEL PLLP                            KEITH ELLISON
                                             Attorney General, State of Minnesota


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